Teitelbaum Law Group LLC
Attorneys for Stack’s-Bowers Numismatics, LLC
d/b/a Stack’s Bowers Galleries                             Hearing Date: July 12, 2019
1 Barker Avenue                                            Hearing Time: 10:00 a.m
White Plains, New York 10610                               Objection Deadline: July 5, 2019
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------
In re:                                                 :   Chapter 11
                                                       :   Case No: 19-22721(RDD)
HAMPSTEAD GLOBAL, LLC,                                            :
                  Debtor                               :
------------------------------------------------------

MOTION FOR AN ORDER, (I) DISMISSING CHAPTER 11 CASE OR CONVERTING
   CHAPTER 11 CASE TO CHAPTER 7; (II) COMPELLING ASSUMPTION OR
    REJECTION OF EXECUTORY CONTRACT; AND (III) MODIFYING THE
AUTOMATIC STAY TO PERMIT THE EXERCISE OF REMEDIES OF ASSUMED OR
                      REJECTED CONTRACTS


         1.       Stack’s-Bowers Numismatics, LLC, d/b/a Stack’s Bowers Galleries (“Movant”),

 by its undersigned counsel Teitelbaum Law Group LLC, and upon the accompanying

 declaration of Brian Kendrella (the “Kendrella Decl.”), hereby moves for an order, pursuant to

 Sections 105, 1112(b), 362(d)(1) and 365(d)(2) of Title 11 of the United States Bankruptcy

 Code (the “Bankruptcy Code”) and Rules 1017, 1019, 2002 and 6006 of the Federal Rules of

 Bankruptcy Procedure (the “Bankruptcy Rules”), (i) dismissing the Chapter 11 case or

 converting the Chapter 11 case to Chapter 7; (ii) compelling the Debtor or Chapter 7 Trustee to

 assume or reject that certain Purchase and Sale Agreement, dated as of April 30, 2018 (the

 “PSA”), between Movant and Debtor and that certain Escrow Agreement, dated as of May 1,

 2018 among Movant as Seller, the Debtor as Buyer and Greenberg & Lieberman as Escrow

 Agent which was executed pursuant to the PSA (the “Escrow Agreement”); (iii) modifying the
automatic stay to permit Movant, upon (a) a payment default under the PSA following

assumption or (b) the rejection of the PSA and Escrow Agreement, to exercise its rights and

remedies under the PSA and Escrow Agreement and State Law with respect to the transfer of

the title, registration and use of the domain name www.coins.com (the “Domain Name”) back

to Movant; and (iv) granting Movant such other and further relief as the Court deems just and

proper.

      2.      This Chapter 11 case is the epitome of a bad faith filing. The sole purpose of the

filing is to delay Movant’s exercise of its rights under the PSA and Escrow Agreement and for

the Debtor to have this Court rewrite the terms of the PSA. The Debtor is seeking to use the

Domain Name, Movant’s property, to launch a business; but does not want to, or have the

ability to, pay Movant the purchase price under the PSA.

      3.      The Debtor has one material asset- -a contractual right to purchase the Domain

Name from Movant. The Debtor has only one actual and substantial creditor - - Movant.

      4.      Movant has filed a proof of claim in this case asserting a claim in the amount of

$1,400,000 pursuant to the terms of the PSA. A copy of the filed proof of claim is attached to

the Kendrella Decl. as Exhibit A.

      5.      Based upon the Debtor’s Statement of Financial Affairs (ECF Docket No. 10) (the

“SOFA”) and Mr. Perzow’s testimony at the 341 Meeting held on May 6, 2019, the Debtor has

(i) no appraisal or other valuations to support any alleged valuation of the Domain Name, (ii) no

operating business, (iii) no customers, (iv) no income, (v) no cash, and (vi) no assets other than

the Domain Name.

      6.      Based upon the sparse pleadings filed in this case, it does not appear that the

Debtor has any ability to (i) propose and confirm a Chapter 11 plan or otherwise rehabilitate,



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(ii) remain in Chapter 11 without substantial losses, (iii) cure pre-petition monetary defaults

under the PSA, or (iv) make the post-petition payments required under the PSA in the event of

an assumption of such agreement.

       7.     The Debtor cannot in equity and fairness be permitted to exploit the benefits of

the PSA without incurring the obligations thereunder. The Debtor cannot continue to try to use

and/or market the Domain Name without providing Movant the benefits of its bargain under the

PSA. The Debtor cannot use this Court to renegotiate or redraft the PSA.

The Purchase and Sale Agreement and Escrow Agreement

       8.     The Debtor and Movant executed the PSA pursuant to which Movant agreed to

sell all right title and interest in the Domain Name (www.coins.com) to Debtor for $1,700,000.

A copy of the PSA is attached to the Kendrella Decl. as Exhibit B.

       9.     Pursuant to the PSA:

                  i. The Effective Date of the PSA was April 30, 2018 (PSA page 1).

                  ii. The Purchase Price for the Domain Name was $1.7 Million (PSA § 2) and

                      was payable as follows:

                         (i) An “Initial Payment” non-refundable payment of $300,000 5

                             business days after the Effective Date (PSA §2(a));

                         (ii) $300,000 ten months after the Effective Date; $200,000 thirteen

                             months after the Effective Date; $300,000 sixteen months after the

                             Effective Date; and $600,000 twenty five months after the

                             Effective Date (PSA §2(b)).

                 iii. The Debtor had the right to purchase the Domain Name for a reduced

                      price of $1.6 million provided the Debtor paid a total of $1.6 Million to



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     Movant no later than 12 months after the Effective Date – or by April 30,

     2019 (PSA §2(c)).

iv. Debtor delivered the Initial Payment of $300,000 to Movant. Kendrella

     Decl.

 v. Movant caused the registration of the Domain Name to be transferred to

     the Escrow Agent pursuant to the terms of the Escrow Agreement. A copy

     of the Escrow Agreement is attached to the Kendrella Decl. as Exhibit C.

     (PSA §3).

vi. Pursuant to the PSA, the Domain Name was registered with the Escrow

     Agent “(i) in trust for the benefit of the Buyer; (ii) to secure Sellers’

     receipt of the unpaid balance of the Purchase Price in full in accordance

     with Section 2; and (iii) Buyer shall not receive the [sic] any ownership

     interest in the Domain Name until the Purchase Price has been paid in full

     and the registration has been transferred to Buyer”. (PSA §3)

vii. Pursuant to the PSA, unless and until the Purchase Price is paid in full,

     title and ownership of the Domain Name does not pass to the Debtor.

        (i) Section 3 of the PSA specifically provides: “For the avoidance of

             doubt, only upon the payment in full of the Purchase Price in

             accordance with Section 2, will the registration of the Domain

             Name (as well as all Intellectual Property rights associated with the

             Domain Name) be transferred to and registered in the name of the

             Buyer, concurrently by such action, all right, title and interest of

             any kind associated with the Domain Name, including but not



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            limited to all intellectual property rights, and all trademark rights,

            to the extent such rights exist, shall automatically pass to the

            Buyer.”

         (ii) PSA Section 7(iii) provides in pertinent part “For the avoidance of

            doubt, except for the use rights described in Section 5, the Buyer

            shall have no ownership or other interest in the Domain Name until

            the Purchase Price is paid in full”

viii. In consideration for the Initial Payment, the Debtor received only the

     limited right to use the Domain Name registered with the Escrow Agent,

     subject to the limitations set forth in the PSA and subject to Movants’

     right to, among other things, notify the Escrow Agent of a payment default

     and demand that the Domain Name registration be put in the name of

     Movant. (PSA §§3, 5, 7(iii)).

 ix. Pursuant to the PSA, in addition to payment of the Purchase Price, the

     Debtor has ongoing material obligations, including:

         (i) not to use the Domain Name in any manner other than as permitted

         in the PSA; (ii) not to permit or authorize any lien, claim or

         encumbrance on the Domain Name; (iii) not to use the Domain Name

         for any unlawful purpose or anything of a pornographic nature; and

         (iv) not to violate Google standards for traffic generation. (PSA §5)

 x. Pursuant to the PSA and Escrow Agreement, Movant also has ongoing

     material obligations including:




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                     (i) Maintaining good and marketable title to Domain Name, free and

                         clear of all liens and encumbrances (PSA §7)’ and upon receipt of

                         payment in full cooperate in the transfer of the registration and

                         ownership of the Domain Name to Debtor. (Escrow Agreement

                         §4(a))


10. Pursuant to the Escrow Agreement (i) Movant has the right to object to the transfer and

   release of the Domain Name to the Debtor based upon a failure of the Debtor to make

   payments as required under the PSA. (Escrow Agreement §4(a)); and (ii) the Escrow

   Agent is required to return the Domain Name to Movant three business days after receipt

   from Movant of notice of a payment default under the PSA. (Escrow Agreement §4(c)).

11. Other than the Initial Payment of $300,000, Debtor has not made any payments to

   Movant under the PSA or on account of the purchase of the Domain Name. (Kendrella

   Decl.)

12. As of the Petition Date, the balance due to Movant under the PSA, was $1.4 million.

   Kendrella Decl.

The Debtor’s Non-Existent Business

13. The Debtor’s Schedules and SOFA reflect that the Debtor has (i) no business operations,

   (ii) no customers, (iii) no income, (iv) no cash, (v) no material assets other than the

   Domain Name, and (vi) no substantial creditors other than Movant.

14. The Debtor alleges that the value of the Domain Name and another domain name

   identified as www.rarex.com is $5 million; however, Mr. Perzow testified at the 341




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        Meeting that the Debtor does not have an appraisal or any basis for such a valuation and

        that the rarex domain name was purchased from Mr. Gati for approximately $15,000.1

    15. The Debtor’s Statement of 20 Largest Creditors identifies 18 creditors in total, including

        (i) Movant at $1.3 Million, (ii) Josh Perzow at $180,000, (iii) Barbara Etinson at

        $150,000, (iv) Ari Gati at $105,000, and (v) 13 others with claims ranging from $5,750 to

        $10.00 and aggregating approximately $13,000.

    16. The Debtors statements, schedules and 1007 Affidavit fail to identify Josh Perzow and

        Barbara Etinson, as the bother and mother of Adam Perzow, the sole member of the

        Debtor. These alleged creditors are statutory insiders of the Debtor. (Bankruptcy Code

        §101(31)(B)(vi)). Moreover, at the 341 Meeting, Mr. Perzow testified that the amounts

        scheduled as due to Josh Perzow and Barbara Etinson as loans (i) were allegedly

        advanced to the Debtor at the time of the start-up of the Debtor in February 2018; (ii) are

        not evidenced by any promissory note or other writing; (iii) are not subject to any stated

        maturity or repayment date; and (iv) are to be repaid with 10% interest whenever they are

        repaid. Movant disputes that these are in fact loans.

    17. The Debtors statements, schedules and 1007 Affidavit do not identify the actual

        relationship with or basis of the claim of Ari Gati and the claim is suspect. Mr. Perzow

        testified at the 341 Meeting that the amounts due to Mr. Gati are for services performed

        for the Debtor; however, Mr. Perzow testified that the Debtor has not launched its

        business.      Moreover, the Debtor’s 1007 Affidavit states that the Debtor has no

        employees. (ECF Docket No. 3 at ¶3).




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  Although there is no transcript of the 341 Meeting, Movant obtained from the U.S. Trustee an audio recording of
the meeting.

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18. The Debtor’s Schedule of 20 Largest Creditors misrepresents Movant’s claim as an

   unsecured loan.    The Debtor fails to identify the PSA and Escrow Agreements as

   executory contracts pursuant to which the Debtor is obligated to pay $1.4 to complete the

   purchase of the Domain Name.

19. The Debtors have not filed any operating reports in this case. Mr. Perzow testified at the

   341 Meeting that, despite being formed in February 2018, the Debtor has not launched its

   business, meaning it has (i) no business operations, (ii) no customers, (iii) no income, (iv)

   no cash, and (v) no material assets other than the Domain Name.

20. Pursuant to the express terms of the PSA, the Debtor has no ownership interest in the

   Domain Name.

21. Pursuant to the express terms of the PSA, the Debtor’s continued limited use of the

   Domain Name is contingent upon the payment of the Purchase Price and the performance

   of other material obligations under the PSA.

                                          Relief Requested

                                                 Point I

         The Cases Should Be Dismissed or Converted for Cause Pursuant to §1112(b)
                              (1), (4)(A) and the C-TC Factors

22. Movant seeks entry of an order pursuant to Bankruptcy Code §1112(b) (1) and (4) either

   dismissing the Chapter 11 Case or converting the case to Chapter 7.

23. Bankruptcy Code §1112(b) (1) provides in pertinent part that:

           on request of a party in interest, . . . the court shall convert a case under this
           chapter to a case under chapter 7 or dismiss case under this chapter, whichever is
           in the best interests of creditors and the estate, for cause unless the court
           determines that the appointment under section 1104(a) of a trustee or examiner is
           in the best interests of creditors and the estate.




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Conversion or Dismissal Pursuant to §1112(b)(4)(A):

24. Bankruptcy Code §1112(b)(4) defines “cause to include, but not be limited to, sixteen

   examples including (b)(4)(A), which provides that cause includes “substantial or

   continuing loss to or diminution of the estate and the absence of a reasonable likelihood

   of rehabilitation” In re Red Bull Taxi Inc., 2017 Bankr. LEXIS 1209 at **5-6 (Bankr.

   S.D.N.Y. 2017), the Court articulated the test as follows:

   Section 1112(b)(4) contains a non-exhaustive list of examples of what constitutes cause
   for dismissal or conversion. Pursuant to section 1112(b)(4)(A) , cause includes
   "substantial or continuing loss to or diminution of the estate and the absence of a
   reasonable likelihood of rehabilitation." 11 U.S.C. § 1112(b)(4)(A). Thus, to establish
   cause under section 1112(b)(4)(A), the moving party must establish two separate prongs:
   (1) that the estate is suffering a substantial or continuing loss or diminution and (2) the
   absence of a reasonable likelihood of rehabilitation. Section 1112(b)(4)(A) is "intended to
   preserve estate assets by preventing the debtor in possession from gambling on the
   enterprise at the creditors' expense when there is no hope of rehabilitation." In re Lizeric
   Realty Corp., 188 B.R. 499, 502 (Bankr. S.D.N.Y. 1995); see also In re Court Living
   Corp., No. 96 CIV. 965, 1996 U.S. Dist. LEXIS 13588, 1996 WL 527333, at *3
   (S.D.N.Y. Sept. 16, 1996)”). For purposes of this analysis, the term "rehabilitation" is not
   synonymous with the term "reorganization," which, for purposes of chapter 11 generally,
   may include a liquidation. See In re Adbrite Corp., 290 B.R. at 216. Rather, the term
   "rehabilitate" means" to put back in good condition; re-establish on a firm, sound
   basis." In re Lizeric Realty Corp., 188 B.R. at 503 (quoting 5 Collier on Bankruptcy ¶
   1112.03 at 1112-19 (Lawrence P. King et al. eds., 15th ed. 1995)) (internal quotation
   marks omitted). Courts have found that cause exists under section 1112 (b)(4) (A) when a
   debtor has a negative cash flow post-petition, and an inability to pay current
   expenses. See In re Adbrite Corp., 290 B.R. at 215.

25. In this case, the Debtor has no business, no assets (other than the Domain Name), no

   income and is incurring expenses, if for nothing else the administration of this case.

   Although the Debtor has not filed any operating reports, the Debtor’s 1007 Affidavit

   alleges that the Debtor has offices in Tarrytown, N.Y. Scarsdale, N.Y. and Santa Monica

   Ca. (ECF Docket No. 3 at ¶2). The Debtor has not identified the rent or other expenses

   associated with these offices, but presumably there are such expenses.




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26. In addition, the Debtor has retained counsel in this case and upon information and belief

   has corporate counsel in California (which has not been retained pursuant to any order of

   this Court). Presumably counsel is not working pro-bono. The Debtor will also be

   incurring fees payable to the U.S. Trustee.

27. Finally, assuming the debtor is attempting to launch its business, there must be

   advertising, marketing and other expenses associated with the start up. None of these

   expenses have been identified.

28. With no income and no assets to liquidate other than the Domain Name, the Debtor has

   or will have substantial and continuing losses.

29. The Debtor has not started its business in the 14 months since executing the PSA and

   Escrow Agreement. Mr. Perzow has testified at the 341 meeting that the economic down

   turn and other business issues have precluded the launch. Other than Mr. Perzow’s sales

   pitch, there is not proof of a viable business or any rehabilitation of the Debtor.

30. As the Debtor alleges that it has no employees, buildings or equipment (ECF Docket No.

   3 at ¶3), the dismissal or conversion will not prejudice or be detrimental to innocent

   bystanders or the administration of any assets.

31. Dismissal or conversion of this case under 1112(b)(4) (A) is appropriate.

Conversion of Dismissal for Cause -- Bad Faith Filing

32. In addition, the Second Circuit in In re C-TC 9th Ave., 113 F.3d 1304, 1311 (2d Cir.

   1997), held that the list of examples in §1112(b)(4)

           is illustrative, not exhaustive." Although "bad faith" is not among the examples
           listed therein, "[i]t is well settled that the filing of a bankruptcy petition in bad
           faith constitutes 'cause' for dismissal or conversion of a case under the Bankruptcy
           Code section 1112(b)." In re Ancona, No. 14-10532, 2016 Bankr. LEXIS 4114, at
           *9 (Bankr. S.D.N.Y. Nov. 30, 2016); In re Kaplan Breslaw Ash, LLC, 264 B.R.



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            309, 334 (Bankr. S.D.N.Y. 2001) ("Cause, for either dismissal or relief from the
            stay, may be found based on unenumerated factors, including 'bad faith[.]'.

    See also In re Reyes, No. 14-13233, 2015 Bankr. LEXIS 2575, 2015 WL 4624156, at *4

    (Bankr. S.D.N.Y. Aug. 4, 2015)(noting that under §1112 (b), "the court may convert or

    dismiss a case that was filed in bad faith."); In re Schur Mgmt. Co., Ltd., 323 B.R. 123,

    127 (Bankr. S.D.N.Y. 2005) ("It is not contested . . . that there exists a general good faith

    requirement under which Chapter 11 petitions can be dismissed for having been filed in

    bad faith.").

33. The rationale for dismissing a case filed in bad faith is that bankruptcy is an equitable

    remedy and "if a petition is not filed in good faith, it is an abuse of judicial process or of

    the jurisdiction of the bankruptcy court." In re Kingston Square Assocs., 214 B.R. 713,

    724 (Bankr. S.D.N.Y. 1997) (citations omitted). This Court "has wide discretion to

    determine if cause exists [under §1112(b)] and how to ultimately dispose of the case. "In

    re Gucci, 174 B.R. 401, 404 (Bankr. S.D.N.Y. 1994).

34. A petition is filed in bad faith "if it is clear that on the filing date there was no reasonable

    likelihood that the debtor intended to reorganize and no reasonable probability that it

    would eventually emerge from bankruptcy proceedings. "Baker v. Latham Sparrowbush

    Assocs. (In re Cohoes Indus. Terminal, Inc.), 931 F.2d 222, 227 (2d Cir. 1991).

35. In this Circuit a bankruptcy petition will be dismissed if both the objective futility of the

    reorganization process and subjective bad faith in filing the petition are found. In re

    General Growth Props., Inc., 409 B.R. 43, 56 (Bankr. S.D.N.Y. 2009).

36. The objective futility standard "is designed to ensure that the debtor actually has a

    potentially viable business in place to protect and rehabilitate. Lacking this, the chapter




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   11 case has lost its raison d'etre." In re RCM Global Long Term Capital Appreciation

   Fund, Ltd., 200 B.R. 514, 520 (Bankr. S.D.N.Y. 1996).

37. In support of the objective standard, Movant relies upon the undisputed facts that since its

   formation and execution of the PSA, the Debtor has (i) not launched its business, (ii) no

   customers, (iii) no employees, (iv) no assets (other than the Domain Name), (v) no

   income, and (vi) no cash for operating capital. In short, the Debtor has nothing but a fast

   talking salesman in Mr. Perzow.

38. In considering the subjective indicia of bad faith standard to determine whether the

   Debtor actually intends to use chapter 11 to reorganize and rehabilitate itself, the Second

   Circuit in C-TC, supra identified eight factors, or "badges," (the "C-TC Factors"), the

   presence of which would be indicative of subjective bad faith:


           (1) The debtor has only one asset;

           (2) The debtor has few unsecured creditors whose claims are small in relation to
           those of the secured creditors;

           (3) The debtor's one asset is the subject of a foreclosure action as a result of
           arrearages or default on the debt;

           (4) The debtor's financial condition is, in essence, a two party dispute between the
           debtor and secured creditors which can be resolved in the pending state
           foreclosure action;

           (5) The timing of the debtor's filing evidences an intent to delay or frustrate the
           legitimate efforts of the debtor's secured creditors to enforce their rights;

           (6) The debtor has little to no cash flow;

           (7) The debtor can't meet current expenses including the payment of personal
           property and real estate taxes; and

           (8) The debtor has no employees.




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39. A mechanical counting of these factors is not necessary and a court may consider any or

   all of them in making a determination of bad faith. In re Century/ML Cable Venture, 294

   B.R. 9, 35 (Bankr. S.D.N.Y. 2003); In re Hampton Hotel Inv'rs, L.P., 270 B.R. 346, 359

   (Bankr. S.D.N.Y. 2001).

40. In this case, however, the Debtor rings the bell on all 8 factors:

   C-TC Factor                                      Reference
   The debtor has only one asset                    Rule 1007 Aff (ECF Docket No. 3 at ¶3);
                                                    ECF Docket No. 10 SOFA; ECF Docket
                                                    No. 9 Sched A/B
   The debtor has few unsecured creditors           ECF Docket No. 2. Schedule of 20 Largest
   whose claims are small in relation to those      Creditors: Other than Stack’s Bowers, there
   of the secured creditors                         are 13 non insider creditors with claims
                                                    aggregating approximately $13,000
   The debtor's one asset is the subject of a       Pursuant to the PSA, Movant had the
   foreclosure action as a result of arrearages     immediate right to direct the Escrow Agent
   or default on the debt                           to return the Domain Name to Stack’s
                                                    Bowers; Movant was about to exercise its
                                                    rights before the filing. Kendrella Decl.
   The debtor's financial condition is, in          Debtor admits at ¶6 of the 1007 Aff (ECF
   essence, a two party dispute between the         Docket No. 3) that the Bankruptcy filing
   debtor and secured creditors which can be        was precipitated by the dispute with
   resolved in the pending state foreclosure        Movant. There are no other creditors
   action;                                          demanding repayment.


   The timing of the debtor's filing evidences      Debtor filed the cases solely to prevent
   an intent to delay or frustrate the legitimate   Movant from exercising its contractual
   efforts of the debtor's secured creditors to     right to direct the Escrow Agent to return
   enforce their rights                             the Domain Name to Movant . Kendrella
                                                    Decl.
   The debtor has little to no cash flow            The Debtor has admitted it has no income,
                                                    customers, assets or business. Testimony of
                                                    Mr. Perzow at 341 Meeting and ECF
                                                    Docket No. 10 SOFA
   The debtor can't meet current expenses           The Debtor has no income to pay any
   including the payment of personal property       expenses and no assets to liquidate other
   and real estate taxes                            than the Domain Name
   The debtor has no employees                      Rule 1007 Decl. at ¶3


41. The Debtor satisfies each and every one of the C-CT Factors.

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42. It is submitted that cause exists to dismiss or convert the case. Assuming the Court finds

   cause under §1112(b) the Court must dismiss or convert the case. In re Adamo, 2016

   Bankr. LEXIS 694 at* 27 (Bankr. E.D.N.Y 2016); In re FRGR Managing Member LLC,

   419 B.R. 576, 581 (Bankr S.D.N.Y. 2009).

43. The Court has the discretion to determine whether conversion or dismissal is appropriate.

   In general, upon finding cause, a court will convert, rather than dismiss a case, where

   there are assets to administer and retaining the case is in the interests of creditors and

   other parties in interest.   See, e.g., In re Kuvykin, 2019 Bankr. LEXIS 631 (Bankr

   S.D.N.Y. 2019); In re FRGR, 419 B.R. at 581: In re Adamo, 2016 Bankr. LEXIS 694 at *

   26.

44. It is submitted that, as this is a single asset case and the only substantial creditor in the

   case is Movant, dismissal, rather than conversion is appropriate in order to allow Movant

   to promptly exercise its rights under the PSA.


                                      Point II
   The Purchase and Sale Agreement and Escrow Agreement Are Executory Contracts
     Which The Debtor or a Trustee Must be Compelled to Immediately Assume or
                                      Reject

45. Assuming the case is not dismissed, the Debtor or a Chapter 7 Trustee (in the case of

   conversion) must be compelled to make an immediate decision on assumption or

   rejection of the PSA and Escrow Agreement.

46. Although there is no precise definition of an executory contract in the Bankruptcy Code,

   the Courts in this Circuit have generally adopted the approach that an executory contract

   “is one on which performance remains due to some extent on both sides." In re Penn




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   Traffic Co., 524 F.3d 373, 378, 379 (2d Cir. 2008); In re Lyondell Chem. Co., 2014 U.S.

   Dist. LEXIS 32899 at *11 (S.D. N.Y. 2014).

47. The PSA and Escrow Agreements are executory contracts. As set forth above and in the

   Kendrella Decl., in addition to the payment of money both sides had performance of

   obligations which were negotiated and included in the PSA and Escrow Agreement as

   important and integral provisions to protect the interests of the parties.

48. Movant did not make a loan to the Debtor as alleged in the Debtor’s schedules. Nothing

   in the PSA provides for an extension of credit or loan of any money to the Debtor or for

   the repayment of any funds or credit advanced to the Debtor. The PSA and Escrow

   Agreements are the only agreements between the parties regarding the Domain Name.

   Kendrella Decl.

49. The PSA clearly and unequivocally provides that Movant agreed to sell the Domain

   Name to the Debtor pursuant to the terms of the PSA and Escrow Agreement for a

   specified price. The PSA specifically provides that title and ownership of the Domain

   Name was not transferred to the Debtor and would not be transferred unless and until the

   Purchase Price was paid to Movant.

50. The PSA and Escrow Agreement provide that the Domain Name was registered with the

   Escrow Agent to secure the payment of the Purchase Price and to provide the Debtor with

   the use of the Domain Name while making payments of the Purchase Price. Only upon

   completion of payment of the Purchase Price would title be transferred to the Debtor.

51. As of the Petition Date, the Debtors were in payment default under the PSA for a

   $300,000 payment.




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52. Pursuant to the PSA, an additional payment of $200,000 became due on or about May 30,

   2019 and additional post –petition payments will be coming due.

53. Other than the initial installment of $300,000 paid to Movant over one year ago, the

   Debtor has failed to make any payment to Movant on account of the Purchase Price.

   Kendrella Decl.

54. Based upon the Debtors current filings, the Debtor has (i) no business, (ii) no customers,

   (iii) no income, (iv) no assets (other than the Domain Name), (v) no ability to cure the

   pre-petition payment defaults under the PSA, (vi) no ability to make post-petition

   payments under the PSA, and (vii) no prospect of rehabilitating or confirming a Chapter

   11 Plan.

55. In the event that the Debtor or a Chapter 7 Trustee determines to assume the PSA, the

   defaults must be cured or Movant must be provided with adequate assurance of a prompt

   cure and of future performance. Bankruptcy Code §365(b)(1)(A) and (C).

56. There is no evidence that the Debtor has any present ability to cure the pre-petition

   payment default under the PSA, make the post-petition payments under the PSA, or make

   any other payments under the PSA.

57. It appears that the Debtor’s strategy is to preserve an option to pay Movant for the use of

   the Domain Name at some unspecified time in the future while the Debtor uses the

   Domain Name to try to build a business. If the Debtor is successful, perhaps the Debtor

   will then agree to pay Movant; if not, it will likely discard or abandon the Domain Name

   with all risk of loss falling on Movant.

58. The Debtor is impermissibly relying upon this Court to rewrite the PSA and Escrow

   Agreement for the sole benefit of the Debtor. The Supreme Court in Mission Prod.

   Holdings, Inc. v. Tempnology, LLC, No. 17–1657, 203 L. Ed. 2d 876, 587 U.S. ___, ___ S.

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   Ct. ___, 2019 WL 2166392, at *9 (U.S. May 20, 2019) recently restated the long standing

   principal that a debtor in bankruptcy gets no greater rights under a contract than it would

   have absent bankruptcy and the counter-party to the contract gets no lesser rights. The Court

   stated::

              In preserving those rights, Section 365 reflects a general bankruptcy rule: The
              estate cannot possess anything more than the debtor itself did outside bankruptcy.
              See Board of Trade of Chicago v. Johnson, 264 U.S. 1, 15, 44 S. Ct. 232, 68 L.
              Ed. 533 (1924) (establishing that principle); §541(a)(1) (defining the estate to
              include the “interests of the debtor in property” (emphasis added)). As
              one [**19] bankruptcy scholar has put the point: Whatever “limitation[s] on the
              debtor’s property [apply] outside of bankruptcy[ ] appl[y] inside of bankruptcy as
              well. A debtor’s property does not shrink by happenstance of bankruptcy, but it
              does not expand, either.” D. Baird, Elements of Bankruptcy 97 (6th ed. 2014). So
              if the not-yet debtor was subject to a counterparty’s contractual right (say, to
              retain a copier or use a trademark), so too is the trustee or debtor once the
              bankruptcy petition has been filed. The rejection-as-breach rule (but not the
              rejection-as-rescission rule) ensures that result. By insisting that the same
              counterparty rights survive rejection as survive breach, the rule prevents a debtor
              in bankruptcy from recapturing interests it had given up.
              203 L. Ed. 2d at 888, 891-892.

59. The Debtor is stuck with the PSA and Escrow Agreement as written and the bundle of

   rights and obligations which go along with those agreements. Walgreen Co. v. NXXI,

   Inc., 2014 Bankr. LEXIS 2853 (Bankr. S.D.N.Y. 2014) (court is powerless to rewrite the

   clear and unambiguous terms of a voluntary contract).

60. Moreover, in the event of an assumption, the contract is assumed cum onere. Nat'l Labor

   Relations Board v. Bildisco and Bildisco (In re Bildisco and Bildisco), 465 U.S. 513,

   531-32, 104 S. Ct. 1188, 79 L. Ed. 2d 482 (1984) ("Should the debtor-in-possession elect

   to assume the executory contract, however, it assumes the contract cum onere. . . .")

   (citation omitted); In re MF Global Holdings Ltd., 466 B.R. 239, 241 (Bankr. S.D.N.Y.

   2012) ("The trustee must either assume the entire contract, cum onere, or reject the entire

   contract, shedding obligations as well as benefits).


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61. Thus, in order to assume the agreements the Debtor or a Chapter 7 Trustee must

   demonstrate an ability to cure the payment defaults and perform the PSA in order to

   continue with the contractual right to use and ultimately purchase the Domain Name. The

   Debtor (or a trustee) cannot pick and choose which provisions of the PSA are to be

   enforced, nor rely upon this Court to rewrite the PSA or Escrow Agreement. Walgreen

   Co. v. NXXI, Inc., 2014 Bankr. LEXIS 2853 (Bankr. S.D.N.Y. 2014) (court is powerless

   to rewrite the clear and unambiguous terms of a voluntary contract)

62. The Debtor has not made a payment to Movant under the PSA in over a year. The Debtor

   has not launched its business; does not have a single customer; does not have a single

   dollar of sales, does not have any cash and does not have any assets other than the

   Domain Name. There is not a scintilla of evidence that the Debtor has the ability to cure

   and perform the PSA.

63. The Debtor cannot be permitted to string this Court and Movant along with tech speak,

   fast talk, and a baseless business plan.

64. The Debtor must be compelled to make a decision whether it has a viable business and

   demonstrate that it can pay for the use and ownership of the Domain Name.

65. Pursuant to Bankruptcy Code §365(d)(2), cause exists to compel a decision whether to

   assume and perform the PSA and Escrow Contracts or to reject them.




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                                            Point III

     The Automatic Stay Should be Modified to Permit Movant to Exercise State Law
                 and Contractual Rights to Recover the Domain Name

66. In the event that the case is not dismissed and the PSA and Escrow Agreement are

   assumed by the Debtor or a Chapter 7 Trustee, such party must perform the terms of the

   PSA (or provide adequate assurance of performance), including curing the defaults,

   making scheduled payments, and complying with use limitations to continue the right to

   use the Domain Name and to have title and ownership transferred to it upon payment of

   the Purchase Price. Bankruptcy Code §365(b)(1)(A) and (C).

67. Upon a payment default Movant’s remedy is to notify the Escrow Agent who is then

   required to take the appropriate action to release and return the registration for the

   Domain Name to Movant (Escrow Agreement §4(c)).

68. In the event that the PSA and Escrow Agreement are rejected, the agreements are deemed

   breached as of the commencement of these cases. Mission Prod. Holdings, Inc. v.

   Tempnology, LLC, No. 17–1657, 203 L. Ed. 2d at 888,891-892 (“[A] debtor’s rejection of an

   executory contract3 in bankruptcy has the same effect as a breach outside bankruptcy.”). The

   Supreme Court in Mission Prod. adopted the rejection interpretation, rather than the

   rescission rule of Bankruptcy Code §365. Id..

69. In the event that the PSA and Escrow Agreements (i) are assumed and there is a post

   assumption payment default or (ii) are rejected and the Debtor or Chapter 7 Trustee

   refuses to surrender or consent to the transfer of the Domain Name to Movant, the

   automatic stay would arguably stay Movant’s exercise of its rights to obtain the Domain

   Name under the PSA and Escrow Agreement

70. Bankruptcy Code § 362(d)(1) provides in pertinent part:


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        On request of a party in interest and after notice and a hearing, the
        court shall grant relief from the stay provided under subsection (a),
        such as by terminating, annulling, modifying or conditioning such stay
        --
        (1) for cause, including lack of adequate protection of an interest in
            property of such party in interest;
71. Under these circumstances, Movant seeks a modification of the automatic stay for cause

   to proceed to recover the Domain Name.

72. Cause is not defined but can include a filing made in bad faith and other equitable

   considerations. Sonnax Indus., Inc. v. Tri Component Prods. Corp. (In re Sonnax Indus.,

   Inc.), 907 F.2d 1280, 1285 (2d Cir. 1990); Holt v. JP Morgan Chase Bank, N.A., 2019

   U.S. Dist. LEXIS 7102 (S.D.N.Y. 2019); In re 68 W. 127 St., LLC, 285 B.R. 838 (Bankr.

   S.D.N.Y. 2002) (identifying the C-TC Factors set forth above).

73. Section 362(d) is mandatory, not permissive, meaning that upon a finding of cause, the

   Court shall grant relief from the stay. In re Elmira Litho, Inc., 174 B.R. 892, 900 (Bankr.

   S.D.N.Y. 1994); In re Touloumis, 170 B.R. 825, 827 (Bankr. S.D.N.Y. 1994); In re

   Kleinman, 156 B.R. 131, 136 (Bankr. S.D.N.Y. 1993); In re Diplomat Electronics Corp.,

   82 B.R. 688, 692 (Bankr. S.D.N.Y. 1988).

74. As set forth above, under the C-TC Factors, this filing of this case smacks of bad faith. This

   alone is a sufficient basis for relief under §362(d)(1).

75. In addition, cause exists to (i) effectuate the provisions of Bankruptcy Code §365, (ii) not

   grant the Debtor greater rights under the PSA than it would have under State Law, and (iii)

   not deprive Movant of its rights under the PSA and Escrow Agreement.

76. Simply, the Debtor cannot be permitted to change the terms of the PSA and Escrow

   Agreement. The Debtor cannot (i) retain the use of the Domain Name without paying the




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   Purchase Price on the schedule set forth in the PSA, and (ii) cannot obtain title and ownership

   of the Domain Name without paying the Purchase Price on the schedule set forth in the PSA.

77. The Debtor does not have title or ownership of the Domain Name and its right to

   continue using the Domain Name and obtain title and ownership of the Domain Name is

   contingent upon its performance of the clear and unambiguous terms of the PSA,

   including the payment in full of the Purchase Price.

78. As such, in the event that the PSA and Escrow Agreements (i) are assumed and there is a

   post assumption payment default according to the payment schedule in the PSA; or (ii)

   are rejected and there is a refusal to surrender the Domain Name, modification of the

   automatic stay for cause is necessary and appropriate to effectuate preserve the respective

   contractual rights and obligations of the parties under the PSA.

79. Absent such a modification, the Court would be rewriting the clear and unambiguous

   terms of the PSA and Escrow Agreement which would deprive Movant of its rights to the

   Domain Name and grant the Debtor a windfall.

80. Under these circumstances cause exists to modify the automatic stay in order to permit

   Movant to exercise its rights under the PSA and Escrow Agreement in order to recover

   the exclusive use and registration of the Domain Name.


   WHEREFORE, Movant respectfully requests that this Court grant the Motion and enter

   an order in the form accompanying this motion (i) dismissing the Chapter 11 case or

   converting the Chapter 11 case to Chapter 7; (ii) compelling the Debtor or Chapter 7

   Trustee to assume or reject the PSA and Escrow Agreement with Movant; (iii) modifying

   the automatic stay to permit Movant, upon a post assumption payment default under the

   PSA or upon the rejection of the PSA and Escrow Agreement, to exercise its rights and


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remedies under the PSA and Escrow Agreement and State Law with respect to the

transfer of all ownership and use of the Domain Name back to Movant; and (iv) granting

Movant such other and further relief as the Court deems just and proper.



Dated: June 17 , 2019

                                             Teitelbaum Law Group LLC


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